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            EXHIBIT B
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            (e)​    Guarantor’s entry into and performance of its obligations under this guarantee will not constitute
                    any breach of or default under any contractual, governmental or public obligation binding on it;
                    and

            (f)​    Guarantor is not engaged in any litigation or arbitration proceedings which might affect its
                    capacity or ability to perform its obligations under this guarantee and to the best of its knowledge
                    no such legal or arbitration proceedings have been threatened or are pending against it.

  Each representation and warranty in this Section is made on: (i) on the date of this Agreement; and (ii) on the date
  any subsequent Order Form becomes part of this Agreement.

 9.​Security Interest

  Seller hereby grants Silo a security interest in all of Seller’s existing and after-acquired goods, accounts, chattel
  paper, documents, instruments, general intangibles, and books and records to secure all Obligations.

10.​Permitted Limit

  If the Agreement is subject to a law that sets maximum charges, and that law is interpreted so that the Total
  Remittance Amount minus the Purchase Price somehow exceeds permitted limits, then (i) any such amount will be
  reduced by the amount necessary to reduce the Total Remittance Amount to the permitted limit and (ii) if required
  by applicable law, any sums already received from Seller that exceed the permitted limit will be refunded or credited
  back to Seller.

11.​Taxes

  It is the responsibility of Seller to determine what, if any, taxes apply to the transaction(s) effectuated by this
  Agreement, and any profit or loss Seller obtains therefrom. It is the responsibility of Seller to collect, report,
  withhold, and remit the correct taxes to the appropriate tax authorities.

12.​Confidentiality

  Seller shall hold in strict confidence and treat as the confidential and proprietary property of Silo non-public
  information provided by Silo to Seller, including information relating to Silo’s business processes, that is identified
  by Silo as confidential or that a reasonable person would understand to be confidential. Seller shall not disclose any
  such information to any Person, unless authorized to do so in writing by Silo or unless required by law.

  Silo will take reasonable efforts to maintain in confidence any non-public information provided by Seller to Silo that
  is expressly identified by Seller as confidential or that a reasonable person would understand to be confidential. Silo
  will take reasonable efforts to not disclose confidential and non-public records and information of Seller to any
  Person, unless authorized to do so by Seller or unless required by law.

13.​Use of Electronic Records and Signatures

  Silo may provide Seller with notifications, disclosures, electronic records, and other communications by posting on
  the Silo website or mobile application, by e-mail, by short message service (“SMS”), or by regular mail. Silo will
  use the information that it has on file to contact Seller. Communications to Seller will be considered effective when
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